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Fill in this information to identify your case:

United States Bankruptcy Court for the:

SOUTHERN DISTRICT OF NEW YORK

Case number (if known)                                                     Chapter      11
                                                                                                                         Check if this an
                                                                                                                            amended filing




Official Form 201
Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                                                         06/22
If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write the debtor's name and the case number (if
known). For more information, a separate document, Instructions for Bankruptcy Forms for Non-Individuals, is available.


1.   Debtor's name                Hello Livingston Extended LLC

2.   All other names debtor
     used in the last 8 years
     Include any assumed
     names, trade names and
     doing business as names

3.   Debtor's federal
     Employer Identification      XX-XXXXXXX
     Number (EIN)


4.   Debtor's address             Principal place of business                                   Mailing address, if different from principal place of
                                                                                                business

                                  46 Main Street, Suite 176
                                  Monsey, NY 10952
                                  Number, Street, City, State & ZIP Code                        P.O. Box, Number, Street, City, State & ZIP Code

                                  Rockland                                                      Location of principal assets, if different from principal
                                  County                                                        place of business
                                                                                                291 Livingston Street Brooklyn, NY 11201
                                                                                                Number, Street, City, State & ZIP Code


5.   Debtor's website (URL)


6.   Type of debtor                Corporation (including Limited Liability Company (LLC) and Limited Liability Partnership (LLP))
                                   Partnership (excluding LLP)
                                   Other. Specify:




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Debtor    Hello Livingston Extended LLC                                                            Case number (if known)
          Name



7.   Describe debtor's business        A. Check one:
                                        Health Care Business (as defined in 11 U.S.C. § 101(27A))
                                        Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
                                        Railroad (as defined in 11 U.S.C. § 101(44))
                                        Stockbroker (as defined in 11 U.S.C. § 101(53A))
                                        Commodity Broker (as defined in 11 U.S.C. § 101(6))
                                        Clearing Bank (as defined in 11 U.S.C. § 781(3))
                                        None of the above

                                       B. Check all that apply
                                        Tax-exempt entity (as described in 26 U.S.C. §501)
                                        Investment company, including hedge fund or pooled investment vehicle (as defined in 15 U.S.C. §80a-3)
                                        Investment advisor (as defined in 15 U.S.C. §80b-2(a)(11))

                                       C. NAICS (North American Industry Classification System) 4-digit code that best describes debtor. See
                                         http://www.uscourts.gov/four-digit-national-association-naics-codes.
                                                5313

8.   Under which chapter of the        Check one:
     Bankruptcy Code is the
     debtor filing?
                                        Chapter 7
     A debtor who is a “small           Chapter 9
     business debtor” must check        Chapter 11. Check all that apply:
     the first sub-box. A debtor as
     defined in § 1182(1) who                                The debtor is a small business debtor as defined in 11 U.S.C. § 101(51D), and its aggregate
     elects to proceed under                                     noncontingent liquidated debts (excluding debts owed to insiders or affiliates) are less than
     subchapter V of chapter 11                                  $3,024,725. If this sub-box is selected, attach the most recent balance sheet, statement of
     (whether or not the debtor is a                             operations, cash-flow statement, and federal income tax return or if any of these documents do not
     “small business debtor”) must                               exist, follow the procedure in 11 U.S.C. § 1116(1)(B).
     check the second sub-box.
                                                             The debtor is a debtor as defined in 11 U.S.C. § 1182(1), its aggregate noncontingent liquidated
                                                                 debts (excluding debts owed to insiders or affiliates) are less than $7,500,000, and it chooses to
                                                                 proceed under Subchapter V of Chapter 11. If this sub-box is selected, attach the most recent
                                                                 balance sheet, statement of operations, cash-flow statement, and federal income tax return, or if
                                                                 any of these documents do not exist, follow the procedure in 11 U.S.C. § 1116(1)(B).
                                                             A plan is being filed with this petition.
                                                             Acceptances of the plan were solicited prepetition from one or more classes of creditors, in
                                                                 accordance with 11 U.S.C. § 1126(b).
                                                             The debtor is required to file periodic reports (for example, 10K and 10Q) with the Securities and
                                                                 Exchange Commission according to § 13 or 15(d) of the Securities Exchange Act of 1934. File the
                                                                 Attachment to Voluntary Petition for Non-Individuals Filing for Bankruptcy under Chapter 11
                                                                 (Official Form 201A) with this form.
                                                             The debtor is a shell company as defined in the Securities Exchange Act of 1934 Rule 12b-2.
                                        Chapter 12
9.   Were prior bankruptcy
     cases filed by or against
                                        No.
     the debtor within the last 8       Yes.
     years?
     If more than 2 cases, attach a
     separate list.                              District                               When                                Case number
                                                 District                               When                                Case number




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Debtor    Hello Livingston Extended LLC                                                                 Case number (if known)
          Name

10. Are any bankruptcy cases
    pending or being filed by a
                                            No
    business partner or an                  Yes.
    affiliate of the debtor?




     List all cases. If more than 1,
     attach a separate list                         Debtor                                                                   Relationship
                                                    District                                When                             Case number, if known


11. Why is the case filed in           Check all that apply:
    this district?
                                             Debtor has had its domicile, principal place of business, or principal assets in this district for 180 days immediately
                                              preceding the date of this petition or for a longer part of such 180 days than in any other district.
                                             A bankruptcy case concerning debtor's affiliate, general partner, or partnership is pending in this district.

12. Does the debtor own or
    have possession of any
                                        No
    real property or personal           Yes. Answer below for each property that needs immediate attention. Attach additional sheets if needed.
    property that needs
    immediate attention?                          Why does the property need immediate attention? (Check all that apply.)
                                                   It poses or is alleged to pose a threat of imminent and identifiable hazard to public health or safety.
                                                     What is the hazard?
                                                   It needs to be physically secured or protected from the weather.
                                                   It includes perishable goods or assets that could quickly deteriorate or lose value without attention (for example,
                                                     livestock, seasonal goods, meat, dairy, produce, or securities-related assets or other options).
                                                   Other
                                                  Where is the property?
                                                                                   Number, Street, City, State & ZIP Code
                                                  Is the property insured?
                                                   No
                                                   Yes. Insurance agency
                                                               Contact name
                                                               Phone



          Statistical and administrative information

13. Debtor's estimation of             .       Check one:
    available funds
                                                Funds will be available for distribution to unsecured creditors.
                                                After any administrative expenses are paid, no funds will be available to unsecured creditors.

14. Estimated number of                 1-49                                           1,000-5,000                               25,001-50,000
    creditors                                                                           5001-10,000                               50,001-100,000
                                        50-99
                                        100-199                                        10,001-25,000                             More than100,000
                                        200-999

15. Estimated Assets                    $0 - $50,000                                   $1,000,001 - $10 million                  $500,000,001 - $1 billion
                                        $50,001 - $100,000                             $10,000,001 - $50 million                 $1,000,000,001 - $10 billion
                                        $100,001 - $500,000                            $50,000,001 - $100 million                $10,000,000,001 - $50 billion
                                        $500,001 - $1 million                          $100,000,001 - $500 million               More than $50 billion

16. Estimated liabilities               $0 - $50,000                                   $1,000,001 - $10 million                  $500,000,001 - $1 billion

Official Form 201                                 Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                  page 3
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Debtor   Hello Livingston Extended LLC                                              Case number (if known)
         Name

                            $50,001 - $100,000                       $10,000,001 - $50 million              $1,000,000,001 - $10 billion
                            $100,001 - $500,000                      $50,000,001 - $100 million             $10,000,000,001 - $50 billion
                            $500,001 - $1 million                    $100,000,001 - $500 million            More than $50 billion




Official Form 201                  Voluntary Petition for Non-Individuals Filing for Bankruptcy                                         page 4
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Debtor    Hello Livingston Extended LLC                                                            Case number (if known)
          Name



          Request for Relief, Declaration, and Signatures

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement in connection with a bankruptcy case can result in fines up to $500,000 or
           imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.

17. Declaration and signature
    of authorized                The debtor requests relief in accordance with the chapter of title 11, United States Code, specified in this petition.
    representative of debtor
                                 I have been authorized to file this petition on behalf of the debtor.

                                 I have examined the information in this petition and have a reasonable belief that the information is true and correct.

                                 I declare under penalty of perjury that the foregoing is true and correct.

                                 Executed on      June 2, 2023
                                                  MM / DD / YYYY


                             X /s/ David Goldwasser                                                       David Goldwasser
                                 Signature of authorized representative of debtor                         Printed name

                                 Title    Chief Restructuring Officer




18. Signature of attorney    X /s/ Robert L. Rattet                                                        Date June 2, 2023
                                 Signature of attorney for debtor                                               MM / DD / YYYY

                                 Robert L. Rattet
                                 Printed name

                                 Davidoff Hutcher & Citron LLP
                                 Firm name

                                 605 Third Avenue
                                 34th Floor
                                 New York, NY 10158
                                 Number, Street, City, State & ZIP Code


                                 Contact phone     212 557 7200                  Email address      rlr@dhclegal.com

                                 1674118 NY
                                 Bar number and State




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Fill in this information to identify the case:

Debtor name         Hello Livingston Extended LLC

United States Bankruptcy Court for the:     SOUTHERN DISTRICT OF NEW YORK

Case number (if known)
                                                                                                                            Check if this is an
                                                                                                                                amended filing



Official Form 202
Declaration Under Penalty of Perjury for Non-Individual Debtors                                                                                    12/15

An individual who is authorized to act on behalf of a non-individual debtor, such as a corporation or partnership, must sign and submit this
form for the schedules of assets and liabilities, any other document that requires a declaration that is not included in the document, and any
amendments of those documents. This form must state the individual’s position or relationship to the debtor, the identity of the document,
and the date. Bankruptcy Rules 1008 and 9011.

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or property by fraud in
connection with a bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341,
1519, and 3571.



             Declaration and signature


      I am the president, another officer, or an authorized agent of the corporation; a member or an authorized agent of the partnership; or another
      individual serving as a representative of the debtor in this case.

      I have examined the information in the documents checked below and I have a reasonable belief that the information is true and correct:

              Schedule A/B: Assets–Real and Personal Property (Official Form 206A/B)

              Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)

              Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)

              Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G)

              Schedule H: Codebtors (Official Form 206H)

              Summary of Assets and Liabilities for Non-Individuals (Official Form 206Sum)
              Amended Schedule
              Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims and Are Not Insiders (Official Form 204)
              Other document that requires a declaration

      I declare under penalty of perjury that the foregoing is true and correct.

       Executed on       June 2, 2023                    X /s/ David Goldwasser
                                                           Signature of individual signing on behalf of debtor

                                                            David Goldwasser
                                                            Printed name

                                                            Chief Restructuring Officer
                                                            Position or relationship to debtor




Official Form 202                                   Declaration Under Penalty of Perjury for Non-Individual Debtors
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Fill in this information to identify the case:
Debtor name Hello Livingston Extended LLC
United States Bankruptcy Court for the: SOUTHERN DISTRICT OF NEW                                                                        Check if this is an
                                               YORK
Case number (if known):                                                                                                                     amended filing




Official Form 204
Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims and
Are Not Insiders                                                                           12/15

A list of creditors holding the 20 largest unsecured claims must be filed in a Chapter 11 or Chapter 9 case. Include claims which the
debtor disputes. Do not include claims by any person or entity who is an insider, as defined in 11 U.S.C. § 101(31). Also, do not
include claims by secured creditors, unless the unsecured claim resulting from inadequate collateral value places the creditor
among the holders of the 20 largest unsecured claims.

Name of creditor and      Name, telephone number Nature of claim               Indicate if claim   Amount of claim
complete mailing address, and email address of   (for example, trade            is contingent,     If the claim is fully unsecured, fill in only unsecured claim amount. If
including zip code        creditor contact       debts, bank loans,            unliquidated, or    claim is partially secured, fill in total claim amount and deduction for
                                                 professional services,            disputed        value of collateral or setoff to calculate unsecured claim.
                                                 and government                                    Total claim, if            Deduction for value        Unsecured claim
                                                 contracts)                                        partially secured          of collateral or setoff
293 Livingston                                                                Disputed                                                                                  $0.00
Realty LLC
Attn: Jack
Glanzberg
Molod Spitz &
DeSantis, P.C.
1430 Broadway,
21st Floor
New York, NY 10018
Abel Ochoa                                                                    Disputed                                                                                  $0.00
Attn: Andrew
Kreidman, Esq.
Zaremba Brown
PLLC
40 Wall Street, 52nd
Floor
New York, NY 10005
Acres Loan                                          291 Livingston                                   $34,000,000.00             $29,500,000.00              $4,500,000.00
Orgination, LLC                                     Street, Brooklyn,
865 Merrick Avenue,                                 NY 11217
Suite 200S
Westbury, NY 11590
Best Super Cleaning                                 Mechanic's Lien           Disputed                                                                          $15,117.25
LLC
5014 16th Avenue
#231
Brooklyn, NY 11204
Capital Concrete                                    Mechanic's Lien           Disputed                                                                      $1,129,012.27
NY, Inc.
199 Lee Avenue
#421
Brooklyn, NY 11211
Classic Touch USA                                   Mechanic's Lien           Disputed                                                                        $128,412.00
Corp.
223 Spencer Street
#304
Brooklyn, NY 11205


Official form 204                      Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured claims                                 page 1
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Debtor     Hello Livingston Extended LLC                                                            Case number (if known)
           Name

Name of creditor and      Name, telephone number Nature of claim               Indicate if claim   Amount of claim
complete mailing address, and email address of   (for example, trade            is contingent,     If the claim is fully unsecured, fill in only unsecured claim amount. If
including zip code        creditor contact       debts, bank loans,            unliquidated, or    claim is partially secured, fill in total claim amount and deduction for
                                                 professional services,            disputed        value of collateral or setoff to calculate unsecured claim.
                                                 and government                                    Total claim, if            Deduction for value        Unsecured claim
                                                 contracts)                                        partially secured          of collateral or setoff
Core Scaffold                                       Mechanic's Lien           Disputed                                                                        $180,219.74
Systems, Inc.
417 Myrtle Avenue,
Ste. 14
Brooklyn, NY 11205
Cube 4 Equities, Inc.                               Mechanic's Lien           Disputed                                                                        $171,402.96
29 Exeter Street
Brooklyn, NY 11235
Gene Kaufman                                        Mechanic's Lien           Disputed                                                                        $166,636.81
Architect, P.C.
79 Fifth Avenue,
18th Floor
New York, NY 10003
International Tile                                  Mechanic's Lien           Disputed                                                                          $96,855.00
Collection, Inc.
6 Mosley Avenue
Staten Island, NY
10312
Jun's Construction                                  Mechanic's Lien           Disputed                                                                          $85,750.00
Inc.
122-03 14th Ave
College Point, NY
11356
Live Lion Security                                  Mechanic's Lien           Disputed                                                                          $28,721.47
LLC
5014 16th Avenue
#231
Brooklyn, NY 11204
MLS Service Group                                   Mechanic's Lien           Disputed                                                                          $12,675.00
Inc.
5308 13th Avenue
#150
Brooklyn, NY 11219
Park Lumber Yard                                    Mechanic's Lien           Disputed                                                                          $10,731.04
Corp.
1071 38th Street
Brooklyn, NY 11219
PBS Services, Inc.                                  Mechanic's Lien           Disputed                                                                        $183,960.92
4403 15th Avenue
Brooklyn, NY 11219
Prestige                                            Mechanic's Lien           Disputed                                                                        $363,593.37
Construction NY
LLC
4010 14th Avenue
Brooklyn, NY 11218
Prime Piping &                                      Mechanic's Lien           Disputed                                                                        $228,959.00
Heating, Inc.
543 Bedford Avenue
#269
Brooklyn, NY 11211




Official form 204                      Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured claims                                 page 2
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Debtor     Hello Livingston Extended LLC                                                            Case number (if known)
           Name

Name of creditor and      Name, telephone number Nature of claim               Indicate if claim   Amount of claim
complete mailing address, and email address of   (for example, trade            is contingent,     If the claim is fully unsecured, fill in only unsecured claim amount. If
including zip code        creditor contact       debts, bank loans,            unliquidated, or    claim is partially secured, fill in total claim amount and deduction for
                                                 professional services,            disputed        value of collateral or setoff to calculate unsecured claim.
                                                 and government                                    Total claim, if            Deduction for value        Unsecured claim
                                                 contracts)                                        partially secured          of collateral or setoff
Soho Masons Corp.                                   Mechanic's Lien           Disputed                                                                          $48,938.28
1046 54th Street
Brooklyn, NY 11219
Worldwide                                           Mechanic's Lien           Disputed                                                                        $105,972.87
Plumbing Supply,
Inc.
4002 15th Avenue
Brooklyn, NY 11218
YD Wood Floors                                      Mechanic's Lien           Disputed                                                                          $77,774.70
LLC
1440 61 Street
Brooklyn, NY 11219




Official form 204                      Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured claims                                 page 3
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 Fill in this information to identify the case:

 Debtor name            Hello Livingston Extended LLC

 United States Bankruptcy Court for the:                       SOUTHERN DISTRICT OF NEW YORK

 Case number (if known)
                                                                                                                                                                                      Check if this is an
                                                                                                                                                                                          amended filing



Official Form 206Sum
Summary of Assets and Liabilities for Non-Individuals                                                                                                                                                      12/15

 Part 1:      Summary of Assets


 1.    Schedule A/B: Assets-Real and Personal Property (Official Form 206A/B)

       1a. Real property:
           Copy line 88 from Schedule A/B.............................................................................................................................                     $      29,500,000.00

       1b. Total personal property:
           Copy line 91A from Schedule A/B.........................................................................................................................                        $                  0.00

       1c. Total of all property:
           Copy line 92 from Schedule A/B...........................................................................................................................                       $      29,500,000.00


 Part 2:      Summary of Liabilities


 2.    Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)
       Copy the total dollar amount listed in Column A, Amount of claim, from line 3 of Schedule D....................................                                                     $      34,000,000.00


 3.    Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)

       3a. Total claim amounts of priority unsecured claims:
           Copy the total claims from Part 1 from line 5a of Schedule E/F..........................................................................                                        $                  0.00

       3b. Total amount of claims of nonpriority amount of unsecured claims:
           Copy the total of the amount of claims from Part 2 from line 5b of Schedule E/F................................................                                                +$       3,034,732.68


 4.    Total liabilities .......................................................................................................................................................
       Lines 2 + 3a + 3b                                                                                                                                                              $        37,034,732.68




 Official Form 206Sum                                              Summary of Assets and Liabilities for Non-Individuals                                                                                   page 1
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Fill in this information to identify the case:

Debtor name      Hello Livingston Extended LLC

United States Bankruptcy Court for the:   SOUTHERN DISTRICT OF NEW YORK

Case number (if known)
                                                                                                                     Check if this is an
                                                                                                                        amended filing



Official Form 206A/B
Schedule A/B: Assets - Real and Personal Property                                                                                        12/15
Disclose all property, real and personal, which the debtor owns or in which the debtor has any other legal, equitable, or future interest.
Include all property in which the debtor holds rights and powers exercisable for the debtor's own benefit. Also include assets and properties
which have no book value, such as fully depreciated assets or assets that were not capitalized. In Schedule A/B, list any executory contracts
or unexpired leases. Also list them on Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G).

Be as complete and accurate as possible. If more space is needed, attach a separate sheet to this form. At the top of any pages added, write
the debtor’s name and case number (if known). Also identify the form and line number to which the additional information applies. If an
additional sheet is attached, include the amounts from the attachment in the total for the pertinent part.

For Part 1 through Part 11, list each asset under the appropriate category or attach separate supporting schedules, such as a fixed asset
schedule or depreciation schedule, that gives the details for each asset in a particular category. List each asset only once. In valuing the
debtor’s interest, do not deduct the value of secured claims. See the instructions to understand the terms used in this form.
Part 1:      Cash and cash equivalents
1. Does the debtor have any cash or cash equivalents?

    No. Go to Part 2.
    Yes Fill in the information below.
   All cash or cash equivalents owned or controlled by the debtor                                                       Current value of
                                                                                                                        debtor's interest

Part 2:      Deposits and Prepayments
6. Does the debtor have any deposits or prepayments?

    No. Go to Part 3.
    Yes Fill in the information below.

Part 3:      Accounts receivable
10. Does the debtor have any accounts receivable?

    No. Go to Part 4.
    Yes Fill in the information below.

Part 4:      Investments
13. Does the debtor own any investments?

    No. Go to Part 5.
    Yes Fill in the information below.

Part 5:      Inventory, excluding agriculture assets
18. Does the debtor own any inventory (excluding agriculture assets)?

    No. Go to Part 6.
    Yes Fill in the information below.

Part 6:      Farming and fishing-related assets (other than titled motor vehicles and land)
27. Does the debtor own or lease any farming and fishing-related assets (other than titled motor vehicles and land)?

    No. Go to Part 7.
Official Form 206A/B                              Schedule A/B Assets - Real and Personal Property                                          page 1
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Debtor        Hello Livingston Extended LLC                                                Case number (If known)
              Name


    Yes Fill in the information below.

Part 7:       Office furniture, fixtures, and equipment; and collectibles
38. Does the debtor own or lease any office furniture, fixtures, equipment, or collectibles?

    No. Go to Part 8.
    Yes Fill in the information below.

Part 8:       Machinery, equipment, and vehicles
46. Does the debtor own or lease any machinery, equipment, or vehicles?

    No. Go to Part 9.
    Yes Fill in the information below.

Part 9:       Real property
54. Does the debtor own or lease any real property?

    No. Go to Part 10.
    Yes Fill in the information below.
55.        Any building, other improved real estate, or land which the debtor owns or in which the debtor has an interest

           Description and location of           Nature and             Net book value of             Valuation method used   Current value of
           property                              extent of              debtor's interest             for current value       debtor's interest
           Include street address or other       debtor's interest      (Where available)
           description such as Assessor          in property
           Parcel Number (APN), and type
           of property (for example,
           acreage, factory, warehouse,
           apartment or office building, if
           available.
           55.1. 291 Livingston
                   Street, Brooklyn, NY
                   11217                         Fee Owner                   $29,500,000.00           FMV                           $29,500,000.00




56.        Total of Part 9.                                                                                                       $29,500,000.00
           Add the current value on lines 55.1 through 55.6 and entries from any additional sheets.
           Copy the total to line 88.

57.        Is a depreciation schedule available for any of the property listed in Part 9?
            No
            Yes
58.        Has any of the property listed in Part 9 been appraised by a professional within the last year?
            No
            Yes
Part 10:      Intangibles and intellectual property
59. Does the debtor have any interests in intangibles or intellectual property?

    No. Go to Part 11.
    Yes Fill in the information below.

Part 11:      All other assets
70. Does the debtor own any other assets that have not yet been reported on this form?
    Include all interests in executory contracts and unexpired leases not previously reported on this form.


Official Form 206A/B                                Schedule A/B Assets - Real and Personal Property                                              page 2
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Debtor      Hello Livingston Extended LLC                                 Case number (If known)
            Name


   No. Go to Part 12.
   Yes Fill in the information below.




Official Form 206A/B                       Schedule A/B Assets - Real and Personal Property                        page 3
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Debtor          Hello Livingston Extended LLC                                                                       Case number (If known)
                Name



Part 12:        Summary

In Part 12 copy all of the totals from the earlier parts of the form
      Type of property                                                                              Current value of                    Current value of real
                                                                                                    personal property                   property

80. Cash, cash equivalents, and financial assets.
    Copy line 5, Part 1                                                                                                     $0.00

81. Deposits and prepayments. Copy line 9, Part 2.                                                                          $0.00

82. Accounts receivable. Copy line 12, Part 3.                                                                              $0.00

83. Investments. Copy line 17, Part 4.                                                                                      $0.00

84. Inventory. Copy line 23, Part 5.                                                                                        $0.00

85. Farming and fishing-related assets. Copy line 33, Part 6.                                                               $0.00

86. Office furniture, fixtures, and equipment; and collectibles.
    Copy line 43, Part 7.                                                                                                   $0.00

87. Machinery, equipment, and vehicles. Copy line 51, Part 8.                                                               $0.00

88. Real property. Copy line 56, Part 9.........................................................................................>                     $29,500,000.00

89. Intangibles and intellectual property. Copy line 66, Part 10.                                                           $0.00

90. All other assets. Copy line 78, Part 11.                                                    +                           $0.00

91. Total. Add lines 80 through 90 for each column                                                                      $0.00       + 91b.           $29,500,000.00


92. Total of all property on Schedule A/B. Add lines 91a+91b=92                                                                                                 $29,500,000.00




Official Form 206A/B                                              Schedule A/B Assets - Real and Personal Property                                                         page 4
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Fill in this information to identify the case:

Debtor name          Hello Livingston Extended LLC

United States Bankruptcy Court for the:            SOUTHERN DISTRICT OF NEW YORK

Case number (if known)
                                                                                                                                          Check if this is an
                                                                                                                                               amended filing

Official Form 206D
Schedule D: Creditors Who Have Claims Secured by Property                                                                                                       12/15
Be as complete and accurate as possible.
1. Do any creditors have claims secured by debtor's property?
       No. Check this box and submit page 1 of this form to the court with debtor's other schedules. Debtor has nothing else to report on this form.
       Yes. Fill in all of the information below.
Part 1:      List Creditors Who Have Secured Claims
                                                                                                                     Column A                    Column B
2. List in alphabetical order all creditors who have secured claims. If a creditor has more than one secured
claim, list the creditor separately for each claim.                                                                  Amount of claim             Value of collateral
                                                                                                                                                 that supports this
                                                                                                                     Do not deduct the value     claim
                                                                                                                     of collateral.
       Acres Loan Orgination,
2.1                                                                                                                       $34,000,000.00          $29,500,000.00
       LLC                                          Describe debtor's property that is subject to a lien
       Creditor's Name                              291 Livingston Street, Brooklyn, NY 11217
       865 Merrick Avenue, Suite
       200S
       Westbury, NY 11590
       Creditor's mailing address                   Describe the lien

                                                    Is the creditor an insider or related party?
                                                     No
       Creditor's email address, if known            Yes
                                                    Is anyone else liable on this claim?
       Date debt was incurred                        No
                                                     Yes. Fill out Schedule H: Codebtors (Official Form 206H)
       Last 4 digits of account number

       Do multiple creditors have an                As of the petition filing date, the claim is:
       interest in the same property?               Check all that apply
        No                                          Contingent
        Yes. Specify each creditor,                 Unliquidated
       including this creditor and its relative      Disputed
       priority.




                                                                                                                            $34,000,000.
3.    Total of the dollar amounts from Part 1, Column A, including the amounts from the Additional Page, if any.                      00

Part 2:     List Others to Be Notified for a Debt Already Listed in Part 1
List in alphabetical order any others who must be notified for a debt already listed in Part 1. Examples of entities that may be listed are collection agencies,
assignees of claims listed above, and attorneys for secured creditors.

If no others need to notified for the debts listed in Part 1, do not fill out or submit this page. If additional pages are needed, copy this page.
        Name and address                                                                                     On which line in Part 1 did        Last 4 digits of
                                                                                                             you enter the related creditor?    account number for
                                                                                                                                                this entity
        Jerold C. Feuerstein, Esq.
        Kriss & Feuerstein LLP                                                                               Line   2.1
        360 Lexington Avenue, Suite 1200
        New York, NY 10017




Official Form 206D                                Schedule D: Creditors Who Have Claims Secured by Property                                                   page 1 of 1
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Fill in this information to identify the case:

Debtor name        Hello Livingston Extended LLC

United States Bankruptcy Court for the:         SOUTHERN DISTRICT OF NEW YORK

Case number (if known)
                                                                                                                                                   Check if this is an
                                                                                                                                                      amended filing


Official Form 206E/F
Schedule E/F: Creditors Who Have Unsecured Claims                                                                                                                      12/15
Be as complete and accurate as possible. Use Part 1 for creditors with PRIORITY unsecured claims and Part 2 for creditors with NONPRIORITY unsecured claims.
List the other party to any executory contracts or unexpired leases that could result in a claim. Also list executory contracts on Schedule A/B: Assets - Real and
Personal Property (Official Form 206A/B) and on Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G). Number the entries in Parts 1 and
2 in the boxes on the left. If more space is needed for Part 1 or Part 2, fill out and attach the Additional Page of that Part included in this form.

Part 1:      List All Creditors with PRIORITY Unsecured Claims

      1. Do any creditors have priority unsecured claims? (See 11 U.S.C. § 507).

          No. Go to Part 2.
          Yes. Go to line 2.

Part 2:      List All Creditors with NONPRIORITY Unsecured Claims
      3. List in alphabetical order all of the creditors with nonpriority unsecured claims. If the debtor has more than 6 creditors with nonpriority unsecured claims, fill
         out and attach the Additional Page of Part 2.
                                                                                                                                                     Amount of claim

3.1       Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.                   Unknown
          293 Livingston Realty LLC
          Attn: Jack Glanzberg                                               Contingent
          Molod Spitz & DeSantis, P.C.                                       Unliquidated
          1430 Broadway, 21st Floor                                          Disputed
          New York, NY 10018
                                                                            Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                   Is the claim subject to offset?    No  Yes
3.2       Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.                   Unknown
          Abel Ochoa
          Attn: Andrew Kreidman, Esq.                                        Contingent
          Zaremba Brown PLLC                                                 Unliquidated
          40 Wall Street, 52nd Floor                                         Disputed
          New York, NY 10005
                                                                            Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                   Is the claim subject to offset?    No  Yes
3.3       Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.                   Unknown
          Apolinar Dominguez-Hernandez
          Attn: Dominick Rendina                                             Contingent
          Subin Associates LLP                                               Unliquidated
          150 Broadway, 23rd Floor                                           Disputed
          New York, NY 10038
                                                                            Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                   Is the claim subject to offset?    No  Yes
3.4       Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.                  $15,117.25
          Best Super Cleaning LLC                                            Contingent
          5014 16th Avenue #231                                              Unliquidated
          Brooklyn, NY 11204                                                 Disputed
          Date(s) debt was incurred
                                                                            Basis for the claim: Mechanic's Lien
          Last 4 digits of account number
                                                                            Is the claim subject to offset?    No  Yes

Official Form 206E/F                                      Schedule E/F: Creditors Who Have Unsecured Claims                                                            page 1 of 5
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Debtor      Hello Livingston Extended LLC                                                   Case number (if known)
            Name

3.5      Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.    $1,129,012.27
         Capital Concrete NY, Inc.                                  Contingent
         199 Lee Avenue #421                                        Unliquidated
         Brooklyn, NY 11211                                         Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Mechanic's Lien
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes
3.6      Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.     $128,412.00
         Classic Touch USA Corp.                                    Contingent
         223 Spencer Street #304                                    Unliquidated
         Brooklyn, NY 11205                                         Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Mechanic's Lien
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes
3.7      Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.     $180,219.74
         Core Scaffold Systems, Inc.                                Contingent
         417 Myrtle Avenue, Ste. 14                                 Unliquidated
         Brooklyn, NY 11205                                         Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Mechanic's Lien
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes
3.8      Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.     $171,402.96
         Cube 4 Equities, Inc.                                      Contingent
         29 Exeter Street                                           Unliquidated
         Brooklyn, NY 11235                                         Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Mechanic's Lien
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes
3.9      Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.       Unknown
         Domingo Flores-Fernandez
         Attn: Noah Katz                                            Contingent
         Wingate, Russotti, Shapiro & HalperinLLP                   Unliquidated
         420 Lexington Avenue                                       Disputed
         New York, NY 10170
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?    No  Yes
3.10     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.       Unknown
         Fabiano Martins De Carvalho
         Attn: Carmine Joseph Goncalves                             Contingent
         Wingate Russotti Shapiro & Halperin LLP                    Unliquidated
         420 Lexington Avenue, Suite 2750                           Disputed
         New York, NY 10170
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?    No  Yes
3.11     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.     $166,636.81
         Gene Kaufman Architect, P.C.                               Contingent
         79 Fifth Avenue, 18th Floor                                Unliquidated
         New York, NY 10003                                         Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Mechanic's Lien
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes


Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 2 of 5
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Debtor      Hello Livingston Extended LLC                                                   Case number (if known)
            Name

3.12     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.     $96,855.00
         International Tile Collection, Inc.                        Contingent
         6 Mosley Avenue                                            Unliquidated
         Staten Island, NY 10312                                    Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Mechanic's Lien
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes
3.13     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.      Unknown
         Jhonatan F. Gonzalez Romero
         Attn: Robert C Sheps                                       Contingent
         Sheps Law Group, P.C.                                      Unliquidated
         25 High Street                                             Disputed
         Huntington, NY 11743
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?    No  Yes
3.14     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.      Unknown
         Johnder Barreno
         Attn: Chelsea Horowitz, Esq.                               Contingent
         Silberstein, Awad & Miklos, P.C.                           Unliquidated
         600 Old Country Road, Suite 505                            Disputed
         Garden City, NY 11530
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?    No  Yes
3.15     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.     $85,750.00
         Jun's Construction Inc.                                    Contingent
         122-03 14th Ave                                            Unliquidated
         College Point, NY 11356                                    Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Mechanic's Lien
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes
3.16     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.     $28,721.47
         Live Lion Security LLC                                     Contingent
         5014 16th Avenue #231                                      Unliquidated
         Brooklyn, NY 11204                                         Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Mechanic's Lien
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes
3.17     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.     $12,675.00
         MLS Service Group Inc.                                     Contingent
         5308 13th Avenue #150                                      Unliquidated
         Brooklyn, NY 11219                                         Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Mechanic's Lien
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes
3.18     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.     $10,731.04
         Park Lumber Yard Corp.                                     Contingent
         1071 38th Street                                           Unliquidated
         Brooklyn, NY 11219                                         Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Mechanic's Lien
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes


Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 3 of 5
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Debtor       Hello Livingston Extended LLC                                                   Case number (if known)
             Name

3.19      Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.     $183,960.92
          PBS Services, Inc.                                         Contingent
          4403 15th Avenue                                           Unliquidated
          Brooklyn, NY 11219                                         Disputed
          Date(s) debt was incurred
                                                                    Basis for the claim: Mechanic's Lien
          Last 4 digits of account number
                                                                    Is the claim subject to offset?    No  Yes
3.20      Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.     $363,593.37
          Prestige Construction NY LLC                               Contingent
          4010 14th Avenue                                           Unliquidated
          Brooklyn, NY 11218                                         Disputed
          Date(s) debt was incurred
                                                                    Basis for the claim: Mechanic's Lien
          Last 4 digits of account number
                                                                    Is the claim subject to offset?    No  Yes
3.21      Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.     $228,959.00
          Prime Piping & Heating, Inc.                               Contingent
          543 Bedford Avenue #269                                    Unliquidated
          Brooklyn, NY 11211                                         Disputed
          Date(s) debt was incurred
                                                                    Basis for the claim: Mechanic's Lien
          Last 4 digits of account number
                                                                    Is the claim subject to offset?    No  Yes
3.22      Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.      $48,938.28
          Soho Masons Corp.                                          Contingent
          1046 54th Street                                           Unliquidated
          Brooklyn, NY 11219                                         Disputed
          Date(s) debt was incurred
                                                                    Basis for the claim: Mechanic's Lien
          Last 4 digits of account number
                                                                    Is the claim subject to offset?    No  Yes
3.23      Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.     $105,972.87
          Worldwide Plumbing Supply, Inc.                            Contingent
          4002 15th Avenue                                           Unliquidated
          Brooklyn, NY 11218                                         Disputed
          Date(s) debt was incurred
                                                                    Basis for the claim: Mechanic's Lien
          Last 4 digits of account number
                                                                    Is the claim subject to offset?    No  Yes
3.24      Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.       Unknown
          Wu 291 Realty LLC
          Attn: David H. Kupfer                                      Contingent
          Kasowitz Benson Torres LLP                                 Unliquidated
          1633 Broadway                                              Disputed
          New York, NY 10019
                                                                    Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                           Is the claim subject to offset?    No  Yes
3.25      Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.      $77,774.70
          YD Wood Floors LLC                                         Contingent
          1440 61 Street                                             Unliquidated
          Brooklyn, NY 11219                                         Disputed
          Date(s) debt was incurred
                                                                    Basis for the claim: Mechanic's Lien
          Last 4 digits of account number
                                                                    Is the claim subject to offset?    No  Yes

Part 3:      List Others to Be Notified About Unsecured Claims


Official Form 206 E/F                                Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 4 of 5
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Debtor      Hello Livingston Extended LLC                                                          Case number (if known)
            Name


4. List in alphabetical order any others who must be notified for claims listed in Parts 1 and 2. Examples of entities that may be listed are collection agencies,
   assignees of claims listed above, and attorneys for unsecured creditors.

  If no others need to be notified for the debts listed in Parts 1 and 2, do not fill out or submit this page. If additional pages are needed, copy the next page.

          Name and mailing address                                                                On which line in Part1 or Part 2 is the          Last 4 digits of
                                                                                                  related creditor (if any) listed?                account number, if
                                                                                                                                                   any

Part 4:     Total Amounts of the Priority and Nonpriority Unsecured Claims

5. Add the amounts of priority and nonpriority unsecured claims.
                                                                                                                   Total of claim amounts
5a. Total claims from Part 1                                                                         5a.       $                           0.00
5b. Total claims from Part 2                                                                         5b.   +   $                   3,034,732.68

5c. Total of Parts 1 and 2
    Lines 5a + 5b = 5c.                                                                              5c.       $                      3,034,732.68




Official Form 206 E/F                                    Schedule E/F: Creditors Who Have Unsecured Claims                                                      Page 5 of 5
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Fill in this information to identify the case:

Debtor name        Hello Livingston Extended LLC

United States Bankruptcy Court for the:      SOUTHERN DISTRICT OF NEW YORK

Case number (if known)
                                                                                                                               Check if this is an
                                                                                                                                  amended filing


Official Form 206G
Schedule G: Executory Contracts and Unexpired Leases                                                                                               12/15
Be as complete and accurate as possible. If more space is needed, copy and attach the additional page, number the entries consecutively.

1.     Does the debtor have any executory contracts or unexpired leases?
        No. Check this box and file this form with the debtor's other schedules. There is nothing else to report on this form.
       Yes. Fill in all of the information below even if the contacts of leases are listed on Schedule A/B: Assets - Real and Personal            Property
(Official Form 206A/B).

2. List all contracts and unexpired leases                                     State the name and mailing address for all other parties with
                                                                               whom the debtor has an executory contract or unexpired
                                                                               lease

2.1.         State what the contract or           Engagement agreement
             lease is for and the nature of       to appoint David
             the debtor's interest                Goldwasser as Chief
                                                  Restructuring Officer of
                                                  the Debtor.
                State the term remaining

             List the contract number of any                                        FIA Capital Partners, LLC
                   government contract




Official Form 206G                         Schedule G: Executory Contracts and Unexpired Leases                                                Page 1 of 1
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Fill in this information to identify the case:

Debtor name      Hello Livingston Extended LLC

United States Bankruptcy Court for the:   SOUTHERN DISTRICT OF NEW YORK

Case number (if known)
                                                                                                                          Check if this is an
                                                                                                                              amended filing


Official Form 206H
Schedule H: Your Codebtors                                                                                                                     12/15

Be as complete and accurate as possible. If more space is needed, copy the Additional Page, numbering the entries consecutively. Attach the
Additional Page to this page.

    1. Do you have any codebtors?

 No. Check this box and submit this form to the court with the debtor's other schedules. Nothing else needs to be reported on this form.
 Yes
  2. In Column 1, list as codebtors all of the people or entities who are also liable for any debts listed by the debtor in the schedules of
     creditors, Schedules D-G. Include all guarantors and co-obligors. In Column 2, identify the creditor to whom the debt is owed and each schedule
     on which the creditor is listed. If the codebtor is liable on a debt to more than one creditor, list each creditor separately in Column 2.
           Column 1: Codebtor                                                                        Column 2: Creditor



          Name                        Mailing Address                                          Name                            Check all schedules
                                                                                                                               that apply:

   2.1    291 Livingston                                                                       Acres Loan                      D       2.1
          Holdings LLC                                                                         Orgination, LLC                  E/F
                                                                                                                               G



   2.2    Perigrove 1001                                                                       Acres Loan                      D       2.1
          LLC                                                                                  Orgination, LLC                  E/F
                                                                                                                               G




Official Form 206H                                                    Schedule H: Your Codebtors                                            Page 1 of 1
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Fill in this information to identify the case:

Debtor name         Hello Livingston Extended LLC

United States Bankruptcy Court for the:     SOUTHERN DISTRICT OF NEW YORK

Case number (if known)
                                                                                                                                Check if this is an
                                                                                                                                    amended filing



Official Form 207
Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                                                                04/22
The debtor must answer every question. If more space is needed, attach a separate sheet to this form. On the top of any additional pages,
write the debtor’s name and case number (if known).

Part 1:     Income

1. Gross revenue from business

      None.
      Identify the beginning and ending dates of the debtor’s fiscal year,             Sources of revenue                           Gross revenue
      which may be a calendar year                                                     Check all that apply                         (before deductions and
                                                                                                                                    exclusions)
2. Non-business revenue
   Include revenue regardless of whether that revenue is taxable. Non-business income may include interest, dividends, money collected from lawsuits,
   and royalties. List each source and the gross revenue for each separately. Do not include revenue listed in line 1.

      None.
                                                                                       Description of sources of revenue            Gross revenue from
                                                                                                                                    each source
                                                                                                                                    (before deductions and
                                                                                                                                    exclusions)

Part 2:     List Certain Transfers Made Before Filing for Bankruptcy

3. Certain payments or transfers to creditors within 90 days before filing this case
   List payments or transfers--including expense reimbursements--to any creditor, other than regular employee compensation, within 90 days before
   filing this case unless the aggregate value of all property transferred to that creditor is less than $7,575. (This amount may be adjusted on 4/01/25
   and every 3 years after that with respect to cases filed on or after the date of adjustment.)

      None.
      Creditor's Name and Address                                  Dates                 Total amount of value         Reasons for payment or transfer
                                                                                                                       Check all that apply

4. Payments or other transfers of property made within 1 year before filing this case that benefited any insider
   List payments or transfers, including expense reimbursements, made within 1 year before filing this case on debts owed to an insider or guaranteed
   or cosigned by an insider unless the aggregate value of all property transferred to or for the benefit of the insider is less than $7,575. (This amount
   may be adjusted on 4/01/25 and every 3 years after that with respect to cases filed on or after the date of adjustment.) Do not include any payments
   listed in line 3. Insiders include officers, directors, and anyone in control of a corporate debtor and their relatives; general partners of a partnership
   debtor and their relatives; affiliates of the debtor and insiders of such affiliates; and any managing agent of the debtor. 11 U.S.C. § 101(31).

      None.
      Insider's name and address                                   Dates                 Total amount of value         Reasons for payment or transfer
      Relationship to debtor

5. Repossessions, foreclosures, and returns
   List all property of the debtor that was obtained by a creditor within 1 year before filing this case, including property repossessed by a creditor, sold at
   a foreclosure sale, transferred by a deed in lieu of foreclosure, or returned to the seller. Do not include property listed in line 6.




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Debtor       Hello Livingston Extended LLC                                                      Case number (if known)



      None
      Creditor's name and address                      Describe of the Property                                        Date                 Value of property


6. Setoffs
   List any creditor, including a bank or financial institution, that within 90 days before filing this case set off or otherwise took anything from an account
   of the debtor without permission or refused to make a payment at the debtor’s direction from an account of the debtor because the debtor owed a
   debt.

      None
      Creditor's name and address                      Description of the action creditor took                         Date action was                Amount
                                                                                                                       taken

Part 3:      Legal Actions or Assignments

7. Legal actions, administrative proceedings, court actions, executions, attachments, or governmental audits
   List the legal actions, proceedings, investigations, arbitrations, mediations, and audits by federal or state agencies in which the debtor was involved
   in any capacity—within 1 year before filing this case.

      None.
             Case title                                Nature of case              Court or agency's name and                 Status of case
             Case number                                                           address
      7.1.   DOMINGO                                                               New York Supreme Court                      Pending
             FLORES-FERNANDEZ v.                                                   Bronx County                                On appeal
             HELLO LIVINGSTON
                                                                                                                               Concluded
             EXTENDED LLC et al
             27903/2020E

      7.2.   APOLINAR DOMINGUEZ                                                    New York Supreme Court                      Pending
             HERNANDEZ v. HELLO                                                    Kings County                                On appeal
             LIVINGSTON EXTENDED LLC
                                                                                                                               Concluded
             et al
             507733/2020

      7.3.   FABIANO MARTINS DE                                                    New York Supreme Court                      Pending
             CARVALHO v. HELLO                                                     Kings County                                On appeal
             LIVINGSTON EXTENDED LLC
                                                                                                                               Concluded
             et al
             507968/2020

      7.4.   Jhonatan F. Gonzalez Romero                                           New York Supreme Court                      Pending
             v. Hello Livingston Extended                                          Kings County                                On appeal
             LLC et al
                                                                                                                               Concluded
             517069/2020

      7.5.   293 LIVINGSTON REALTY                                                 New York Supreme Court                      Pending
             LLC et al v. BLACKBOARD                                               Kings County                                On appeal
             INSURANCE COMPANY et al
                                                                                                                               Concluded
             535845/2022

      7.6.   WU 291 REALTY LLC v. 291                                              New York Supreme Court                      Pending
             PERIGROVE 1001 LLC et al                                              New York County                             On appeal
             651438/2023
                                                                                                                               Concluded

      7.7.   JHONDER BARRENO v.                                                    New York Supreme Court                      Pending
             PRESTIGE CONSTRUCTION                                                 Queens County                               On appeal
             NY et al
                                                                                                                               Concluded
             702741/2020




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Debtor        Hello Livingston Extended LLC                                                      Case number (if known)



              Case title                              Nature of case               Court or agency's name and                 Status of case
              Case number                                                          address
      7.8.    Abel Ochoa v. Prestige                                               New York Supreme Court                      Pending
              Construction NY LLC et al                                            Queens County                               On appeal
              703925/2021
                                                                                                                               Concluded

8. Assignments and receivership
   List any property in the hands of an assignee for the benefit of creditors during the 120 days before filing this case and any property in the hands of a
   receiver, custodian, or other court-appointed officer within 1 year before filing this case.

      None

Part 4:       Certain Gifts and Charitable Contributions

9. List all gifts or charitable contributions the debtor gave to a recipient within 2 years before filing this case unless the aggregate value of
   the gifts to that recipient is less than $1,000

      None
              Recipient's name and address            Description of the gifts or contributions                  Dates given                            Value


Part 5:       Certain Losses

10. All losses from fire, theft, or other casualty within 1 year before filing this case.

      None
      Description of the property lost and            Amount of payments received for the loss                   Dates of loss              Value of property
      how the loss occurred                                                                                                                              lost
                                                      If you have received payments to cover the loss, for
                                                      example, from insurance, government compensation, or
                                                      tort liability, list the total received.

                                                      List unpaid claims on Official Form 106A/B (Schedule
                                                      A/B: Assets – Real and Personal Property).

Part 6:       Certain Payments or Transfers

11. Payments related to bankruptcy
    List any payments of money or other transfers of property made by the debtor or person acting on behalf of the debtor within 1 year before the filing
    of this case to another person or entity, including attorneys, that the debtor consulted about debt consolidation or restructuring, seeking bankruptcy
    relief, or filing a bankruptcy case.

      None.
               Who was paid or who received             If not money, describe any property transferred               Dates                    Total amount or
               the transfer?                                                                                                                            value
               Address
      11.1.    Davidoff Hutcher & Citron
               LLP                                                                                                    workout
               605 Third Avenue                                                                                       retainer on
               New York, NY 10158                       Retainer                                                      10/20/22                    $10,000.00

               Email or website address


               Who made the payment, if not debtor?
               Perigrove LLC




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               Who was paid or who received              If not money, describe any property transferred               Dates                Total amount or
               the transfer?                                                                                                                         value
               Address
      11.2.                                              Engagement fee to retain David
               FIA Capital Partners, LLC                 Goldwasser as Chief Restructuring Officer                     May 31,
                                                         of the Debtor                                                 2023                     $25,000.00

               Email or website address


               Who made the payment, if not debtor?
               Perigrove, LLC


      11.3.    Davidoff Hutcher & Citron
               LLP
               605 Third Avenue
               New York, NY 10158                        Retainer                                                      3/27/23                  $25,000.00

               Email or website address


               Who made the payment, if not debtor?
               Perigrove LLC


      11.4.    Davidoff Hutcher & Citron
               LLP
               605 Third Avenue
               New York, NY 10158                        Retainer paid by the Debtor                                   6/2/23                   $25,000.00

               Email or website address


               Who made the payment, if not debtor?




12. Self-settled trusts of which the debtor is a beneficiary
    List any payments or transfers of property made by the debtor or a person acting on behalf of the debtor within 10 years before the filing of this case
    to a self-settled trust or similar device.
    Do not include transfers already listed on this statement.

      None.
      Name of trust or device                            Describe any property transferred                    Dates transfers               Total amount or
                                                                                                              were made                              value

13. Transfers not already listed on this statement
    List any transfers of money or other property by sale, trade, or any other means made by the debtor or a person acting on behalf of the debtor within
    2 years before the filing of this case to another person, other than property transferred in the ordinary course of business or financial affairs. Include
    both outright transfers and transfers made as security. Do not include gifts or transfers previously listed on this statement.

      None.
              Who received transfer?                   Description of property transferred or                    Date transfer              Total amount or
              Address                                  payments received or debts paid in exchange               was made                            value

 Part 7:      Previous Locations

14. Previous addresses
    List all previous addresses used by the debtor within 3 years before filing this case and the dates the addresses were used.




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Debtor      Hello Livingston Extended LLC                                                        Case number (if known)




      Does not apply
               Address                                                                                              Dates of occupancy
                                                                                                                    From-To

Part 8:     Health Care Bankruptcies

15. Health Care bankruptcies
    Is the debtor primarily engaged in offering services and facilities for:
    - diagnosing or treating injury, deformity, or disease, or
    - providing any surgical, psychiatric, drug treatment, or obstetric care?

          No. Go to Part 9.
      Yes. Fill in the information below.

               Facility name and address                Nature of the business operation, including type of services                If debtor provides meals
                                                        the debtor provides                                                         and housing, number of
                                                                                                                                    patients in debtor’s care

Part 9:     Personally Identifiable Information

16. Does the debtor collect and retain personally identifiable information of customers?

          No.
      Yes. State the nature of the information collected and retained.
17. Within 6 years before filing this case, have any employees of the debtor been participants in any ERISA, 401(k), 403(b), or other pension or
    profit-sharing plan made available by the debtor as an employee benefit?

          No. Go to Part 10.
      Yes. Does the debtor serve as plan administrator?

Part 10:    Certain Financial Accounts, Safe Deposit Boxes, and Storage Units

18. Closed financial accounts
    Within 1 year before filing this case, were any financial accounts or instruments held in the debtor’s name, or for the debtor’s benefit, closed, sold,
    moved, or transferred?
    Include checking, savings, money market, or other financial accounts; certificates of deposit; and shares in banks, credit unions, brokerage houses,
    cooperatives, associations, and other financial institutions.

      None
               Financial Institution name and           Last 4 digits of           Type of account or          Date account was                  Last balance
               Address                                  account number             instrument                  closed, sold,                 before closing or
                                                                                                               moved, or                              transfer
                                                                                                               transferred

19. Safe deposit boxes
    List any safe deposit box or other depository for securities, cash, or other valuables the debtor now has or did have within 1 year before filing this
    case.


      None
      Depository institution name and address                Names of anyone with                  Description of the contents                 Does debtor
                                                             access to it                                                                      still have it?
                                                             Address

20. Off-premises storage
    List any property kept in storage units or warehouses within 1 year before filing this case. Do not include facilities that are in a part of a building in
    which the debtor does business.




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      None
      Facility name and address                             Names of anyone with                  Description of the contents                   Does debtor
                                                            access to it                                                                        still have it?


Part 11:    Property the Debtor Holds or Controls That the Debtor Does Not Own

21. Property held for another
    List any property that the debtor holds or controls that another entity owns. Include any property borrowed from, being stored for, or held in trust. Do
    not list leased or rented property.

     None

Part 12:    Details About Environment Information

For the purpose of Part 12, the following definitions apply:
     Environmental law means any statute or governmental regulation that concerns pollution, contamination, or hazardous material, regardless of the
     medium affected (air, land, water, or any other medium).

     Site means any location, facility, or property, including disposal sites, that the debtor now owns, operates, or utilizes or that the debtor formerly
     owned, operated, or utilized.

     Hazardous material means anything that an environmental law defines as hazardous or toxic, or describes as a pollutant, contaminant, or a
     similarly harmful substance.

Report all notices, releases, and proceedings known, regardless of when they occurred.

22. Has the debtor been a party in any judicial or administrative proceeding under any environmental law? Include settlements and orders.

          No.
      Yes. Provide details below.
      Case title                                            Court or agency name and              Nature of the case                            Status of case
      Case number                                           address

23. Has any governmental unit otherwise notified the debtor that the debtor may be liable or potentially liable under or in violation of an
    environmental law?

          No.
      Yes. Provide details below.
      Site name and address                                 Governmental unit name and                Environmental law, if known               Date of notice
                                                            address

24. Has the debtor notified any governmental unit of any release of hazardous material?

          No.
      Yes. Provide details below.
      Site name and address                                 Governmental unit name and                Environmental law, if known               Date of notice
                                                            address

Part 13:    Details About the Debtor's Business or Connections to Any Business

25. Other businesses in which the debtor has or has had an interest
    List any business for which the debtor was an owner, partner, member, or otherwise a person in control within 6 years before filing this case.
    Include this information even if already listed in the Schedules.

      None
   Business name address                             Describe the nature of the business               Employer Identification number
                                                                                                       Do not include Social Security number or ITIN.

                                                                                                       Dates business existed

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26. Books, records, and financial statements
    26a. List all accountants and bookkeepers who maintained the debtor’s books and records within 2 years before filing this case.
           None
      Name and address                                                                                                              Date of service
                                                                                                                                    From-To

    26b. List all firms or individuals who have audited, compiled, or reviewed debtor’s books of account and records or prepared a financial statement
         within 2 years before filing this case.

           None

    26c. List all firms or individuals who were in possession of the debtor’s books of account and records when this case is filed.

           None
      Name and address                                                                               If any books of account and records are
                                                                                                     unavailable, explain why
      26c.1.        Isaac Lefkowitz
                    46 Main Street, Suite 176
                    Monsey, NY 10952

    26d. List all financial institutions, creditors, and other parties, including mercantile and trade agencies, to whom the debtor issued a financial
         statement within 2 years before filing this case.

           None
      Name and address

27. Inventories
    Have any inventories of the debtor’s property been taken within 2 years before filing this case?

          No
      Yes. Give the details about the two most recent inventories.
               Name of the person who supervised the taking of the                  Date of inventory        The dollar amount and basis (cost, market,
               inventory                                                                                     or other basis) of each inventory

28. List the debtor’s officers, directors, managing members, general partners, members in control, controlling shareholders, or other people
    in control of the debtor at the time of the filing of this case.

      Name                                    Address                                             Position and nature of any                % of interest, if
                                                                                                  interest                                  any
      291 Livingston Holdings                                                                     Shareholder                               50%
      LLC

      Name                                    Address                                             Position and nature of any                % of interest, if
                                                                                                  interest                                  any
      Perigrove 1001 LLC                                                                          Shareholder                               50%




29. Within 1 year before the filing of this case, did the debtor have officers, directors, managing members, general partners, members in
    control of the debtor, or shareholders in control of the debtor who no longer hold these positions?


          No
      Yes. Identify below.

30. Payments, distributions, or withdrawals credited or given to insiders
    Within 1 year before filing this case, did the debtor provide an insider with value in any form, including salary, other compensation, draws, bonuses,
    loans, credits on loans, stock redemptions, and options exercised?

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          No
      Yes. Identify below.
             Name and address of recipient             Amount of money or description and value of               Dates             Reason for
                                                       property                                                                    providing the value

31. Within 6 years before filing this case, has the debtor been a member of any consolidated group for tax purposes?

          No
      Yes. Identify below.
   Name of the parent corporation                                                                      Employer Identification number of the parent
                                                                                                       corporation

32. Within 6 years before filing this case, has the debtor as an employer been responsible for contributing to a pension fund?

          No
      Yes. Identify below.
   Name of the pension fund                                                                            Employer Identification number of the pension
                                                                                                       fund

Part 14:    Signature and Declaration

     WARNING -- Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or property by fraud in
     connection with a bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years, or both.
     18 U.S.C. §§ 152, 1341, 1519, and 3571.

     I have examined the information in this Statement of Financial Affairs and any attachments and have a reasonable belief that the information is true
     and correct.

     I declare under penalty of perjury that the foregoing is true and correct.

Executed on         June 2, 2023

/s/ David Goldwasser                                            David Goldwasser
Signature of individual signing on behalf of the debtor         Printed name

Position or relationship to debtor   Chief Restructuring Officer

Are additional pages to Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy (Official Form 207) attached?
 No
 Yes




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                                                       United States Bankruptcy Court
                                                             Southern District of New York
 In re       Hello Livingston Extended LLC                                                                    Case No.
                                                                              Debtor(s)                       Chapter       11

                        DISCLOSURE OF COMPENSATION OF ATTORNEY FOR DEBTOR(S)
1.   Pursuant to 11 U .S.C. § 329(a) and Fed. Bankr. P. 2016(b), I certify that I am the attorney for the above named debtor(s) and that
     compensation paid to me within one year before the filing of the petition in bankruptcy, or agreed to be paid to me, for services rendered or to
     be rendered on behalf of the debtor(s) in contemplation of or in connection with the bankruptcy case is as follows:
             For legal services, I have agreed to accept                                                  $                 25,000.00
             Prior to the filing of this statement I have received                                        $                 25,000.00
             Balance Due                                                                                  $                       0.00

2.   $      1,737.00      of the filing fee has been paid.

3.   The source of the compensation paid to me was:

              Debtor            Other (specify):

4.   The source of compensation to be paid to me is:

              Debtor            Other (specify):

5.        I have not agreed to share the above-disclosed compensation with any other person unless they are members and associates of my law firm.
          I have agreed to share the above-disclosed compensation with a person or persons who are not members or associates of my law firm. A
            copy of the agreement, together with a list of the names of the people sharing in the compensation is attached.

6.       In return for the above-disclosed fee, I have agreed to render legal service for all aspects of the bankruptcy case, including:

     a. Analysis of the debtor's financial situation, and rendering advice to the debtor in determining whether to file a petition in bankruptcy;
     b. Preparation and filing of any petition, schedules, statement of affairs and plan which may be required;
     c. Representation of the debtor at the meeting of creditors and confirmation hearing, and any adjourned hearings thereof;
     d. Representation of the debtor in adversary proceedings and other contested bankruptcy matters;
     e. [Other provisions as needed]


7.   By agreement with the debtor(s), the above-disclosed fee does not include the following service:
             Representation of the debtor(s) in any dischargability actions, judicial lien avoidances, relief from stay actions or
             any other adversary proceeding or contested matter.
                                                                     CERTIFICATION
      I certify that the foregoing is a complete statement of any agreement or arrangement for payment to me for representation of the debtor(s) in
this bankruptcy proceeding.

     June 2, 2023                                                             /s/ Robert L. Rattet
     Date                                                                     Robert L. Rattet
                                                                              Signature of Attorney
                                                                              Davidoff Hutcher & Citron LLP
                                                                              605 Third Avenue
                                                                              34th Floor
                                                                              New York, NY 10158
                                                                              212 557 7200 Fax: 212 286 1884
                                                                              rlr@dhclegal.com
                                                                              Name of law firm
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                                                      United States Bankruptcy Court
                                                            Southern District of New York
 In re    Hello Livingston Extended LLC                                                                           Case No.
                                                                                Debtor(s)                         Chapter        11

                                                  LIST OF EQUITY SECURITY HOLDERS
Following is the list of the Debtor's equity security holders which is prepared in accordance with rule 1007(a)(3) for filing in this Chapter 11 Case

Name and last known address or place of                     Security Class Number of Securities                              Kind of Interest
business of holder
291 Livingston Holdings, LLC                                                      50%                                        Member



Perigrove 1001 LLC                                                                50%                                        Member



DECLARATION UNDER PENALTY OF PERJURY ON BEHALF OF CORPORATION OR PARTNERSHIP

        I, the Chief Restructuring Officer of the corporation named as the debtor in this case, declare under penalty of
perjury that I have read the foregoing List of Equity Security Holders and that it is true and correct to the best of my
information and belief.



Date June 2, 2023                                                        Signature /s/ David Goldwasser
                                                                                        David Goldwasser

                   Penalty for making a false statement of concealing property: Fine of up to $500,000 or imprisonment for up to 5 years or both.
                                                                    18 U.S.C. §§ 152 and 3571.




Sheet 1 of 1 in List of Equity Security Holders
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                                                    Southern District of New York
 In re   Hello Livingston Extended LLC                                                           Case No.
                                                                     Debtor(s)                   Chapter      11




                                   VERIFICATION OF CREDITOR MATRIX


I, the Chief Restructuring Officer of the corporation named as the debtor in this case, hereby verify that the attached list of creditors is

true and correct to the best of my knowledge.




Date:     June 2, 2023                                   /s/ David Goldwasser
                                                         David Goldwasser/Chief Restructuring Officer
                                                         Signer/Title
291 Livingston Holdings
        23-22422-shl Doc 1LLCFiled
                                 Cube  4 Equities,
                                   06/02/23           Inc.
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                                                              12:56:42    Construction
                                                                       Main Document   Inc.
                                 29 ExeterPgStreet
                                             34 of 38               122-03 14th Ave
                                 Brooklyn, NY 11235                 College Point, NY 11356

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293 Livingston Realty LLC       Domingo Flores-Fernandez      Live Lion Security LLC
Attn: Jack Glanzberg            Attn: Noah Katz               5014 16th Avenue #231
Molod Spitz & DeSantis, P.C.    Wingate, Russotti, Shapiro & HalperinLLP
                                                              Brooklyn, NY 11204
1430 Broadway, 21st Floor       420 Lexington Avenue
New York, NY 10018              New York, NY 10170

Abel Ochoa                      Fabiano Martins De Carvalho MLS Service Group Inc.
Attn: Andrew Kreidman, Esq.     Attn: Carmine Joseph Goncalves5308 13th Avenue #150
Zaremba Brown PLLC              Wingate Russotti Shapiro & Halperin LLP NY 11219
                                                              Brooklyn,
40 Wall Street, 52nd Floor      420 Lexington Avenue, Suite 2750
New York, NY 10005              New York, NY 10170

Acres Loan Orgination, LLC    FIA Capital Partners, LLC         NYC Dept. of Finance
865 Merrick Avenue, Suite 200S                                  Office of Legal Affairs
Westbury, NY 11590                                              66 John Street, Rm. 104
                                                                New York, NY 10038


Apolinar Dominguez-Hernandez Gene Kaufman Architect, P.C. NYS Dept. of Taxation & F
Attn: Dominick Rendina       79 Fifth Avenue, 18th Floor  Attn: Office of Counsel, B
                                                                                   9
Subin Associates LLP         New York, NY 10003           W.A. Harriman State Campu
150 Broadway, 23rd Floor                                  Albany, NY 12227
New York, NY 10038

Best Super Cleaning LLC         Internal Revenue Service    Office of the United StaT
5014 16th Avenue #231           P.O. Box 7346               One Bowling Green, Ste. 5
Brooklyn, NY 11204              Philadelphia, PA 19101-7346 New York, NY 10004



Capital Concrete NY, Inc.       International Tile Collection, Inc.
                                                             Park Lumber Yard Corp.
199 Lee Avenue #421             6 Mosley Avenue              1071 38th Street
Brooklyn, NY 11211              Staten Island, NY 10312      Brooklyn, NY 11219



Classic Touch USA Corp.         Jerold C. Feuerstein, Esq.    PBS Services, Inc.
223 Spencer Street #304         Kriss & Feuerstein LLP        4403 15th Avenue
Brooklyn, NY 11205              360 Lexington Avenue, Suite 1200
                                                              Brooklyn, NY 11219
                                New York, NY 10017


Core Scaffold Systems, Inc.     Jhonatan F. Gonzalez Romero     Perigrove 1001 LLC
417 Myrtle Avenue, Ste. 14      Attn: Robert C Sheps
Brooklyn, NY 11205              Sheps Law Group, P.C.
                                25 High Street
                                Huntington, NY 11743

Corporation Counsel             Johnder Barreno               Prestige Construction NYL
Bankruptcy Litigation Dept.     Attn: Chelsea Horowitz, Esq. 4010 14th Avenue
100 Church Street, Rm. 5-240    Silberstein, Awad & Miklos, P.C.
                                                              Brooklyn, NY 11218
New York, NY 10007              600 Old Country Road, Suite 505
                                Garden City, NY 11530
Prime Piping  & Heating,
         23-22422-shl     Inc.
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Brooklyn, NY 11211



Soho Masons Corp.
1046 54th Street
Brooklyn, NY 11219



Worldwide Plumbing Supply, Inc.
4002 15th Avenue
Brooklyn, NY 11218



Wu 291 Realty LLC
Attn: David H. Kupfer
Kasowitz Benson Torres LLP
1633 Broadway
New York, NY 10019

YD Wood Floors LLC
1440 61 Street
Brooklyn, NY 11219
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                                          United States Bankruptcy Court
                                              Southern District of New York
 In re   Hello Livingston Extended LLC                                                 Case No.
                                                              Debtor(s)                Chapter     11




                             CORPORATE OWNERSHIP STATEMENT (RULE 7007.1)

Pursuant to Federal Rule of Bankruptcy Procedure 7007.1 and to enable the Judges to evaluate possible disqualification or
recusal, the undersigned counsel for Hello Livingston Extended LLC in the above captioned action, certifies that the
following is a (are) corporation(s), other than the debtor or a governmental unit, that directly or indirectly own(s) 10% or
more of any class of the corporation's(s') equity interests, or states that there are no entities to report under FRBP 7007.1:
291 Livingston Holdings, LLC

Perigrove 1001 LLC




 None [Check if applicable]




June 2, 2023                                     /s/ Robert L. Rattet
Date                                             Robert L. Rattet
                                                 Signature of Attorney or Litigant
                                                 Counsel for Hello Livingston Extended LLC
                                                 Davidoff Hutcher & Citron LLP
                                                 605 Third Avenue
                                                 34th Floor
                                                 New York, NY 10158
                                                 212 557 7200 Fax:212 286 1884
                                                 rlr@dhclegal.com
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                                         United States Bankruptcy Court
                                             Southern District of New York
 In re   Hello Livingston Extended LLC                                               Case No.
                                                           Debtor(s)                 Chapter     11



         STATEMENT REGARDING AUTHORITY TO SIGN AND FILE PETITION
         I, David Goldwasser, declare under penalty of perjury that I am the Chief Restructuring Officer of Hello
Livingston Extended LLC, and that the following is a true and correct copy of the resolutions adopted by the Board
of Directors of said corporation at a special meeting duly called and held on the 30th day of May, 2023.

      "Whereas, it is in the best interest of this corporation to file a voluntary petition in the United States
Bankruptcy Court pursuant to Chapter 11 of Title 11 of the United States Code;

       Be It Therefore Resolved, that David Goldwasser, Chief Restructuring Officer of this Corporation, is
authorized and directed to execute and deliver all documents necessary to perfect the filing of a chapter 11
voluntary bankruptcy case on behalf of the corporation; and

       Be It Further Resolved, that David Goldwasser, Chief Restructuring Officer of this Corporation is authorized
and directed to appear in all bankruptcy proceedings on behalf of the corporation, and to otherwise do and
perform all acts and deeds and to execute and deliver all necessary documents on behalf of the corporation in
connection with such bankruptcy case, and

       Be It Further Resolved, that David Goldwasser, Chief Restructuring Officer of this Corporation is authorized
and directed to employ Robert L. Rattet, attorney and the law firm of Davidoff Hutcher & Citron LLP to represent the
corporation in such bankruptcy case."

Date     May 30, 2023                                    Signed /s/David Goldwasser
                                                                  David Goldwasser
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                                         Resolution of Board of Directors
                                                        of
                                            Hello Livingston Extended LLC




      Whereas, it is in the best interest of this corporation to file a voluntary petition in the the United States
Bankruptcy Court pursuant to Chapter 11 of Title 11 of the United States Code;

       Be It Therefore Resolved, that David Goldwasser, Chief Restructuring Officer of this Corporation, is
authorized and directed to execute and deliver all documents necessary to perfect the filing of a chapter 11
voluntary bankruptcy case on behalf of the corporation; and

       Be It Further Resolved, that David Goldwasser, Chief Restructuring Officer of this Corporation is
authorized and directed to appear in all bankruptcy proceedings on behalf of the corporation, and to otherwise
do and perform all acts and deeds and to execute and deliver all necessary documents on behalf of the
corporation in connection with such bankruptcy case, and

       Be It Further Resolved, that David Goldwasser, Chief Restructuring Officer of this Corporation is authorized
and directed to employ Robert L. Rattet, attorney and the law firm of Davidoff Hutcher & Citron LLP to represent the
corporation in such bankruptcy case.

Date   May 30, 2023                                    Signed    /s/ David Goldwasser



Date                                                   Signed
